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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                            )
    In re:                                                  )    Chapter 11
                                                            )
    WARDMAN HOTEL OWNER, L.L.C., 1                          )    Case No. 21-10023 (JTD)
                                                            )
                             Debtor.                        )
                                                            )

               MOTION OF THE DEBTOR TO PERMIT DEBTOR TO CONSENT TO
             TERMINATION OF CERTAIN CUSTOMER CONTRACTS AND PROVIDE
                 RELEASES PURSUANT TO 11 U.S.C. §§ 105(a) AND 363(a) AND
                               BANKRUPTCY RULE 9019

                   The above captioned debtor and debtor in possession (the “Debtor”) files this

motion (this “Motion”) for the entry of an order, substantially in the form attached hereto as

Exhibit A, under sections 105 and 363(b) of title 11 of the United States Code (the “Bankruptcy

Code”) and Rule 9019 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”)

permitting the Debtor to consent to the termination of certain customer contracts for hotel

services and provide releases to the affected parties. In support of the Motion, the Debtor

respectfully states as follows:

                                                    Jurisdiction

             1.    This Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334.

Venue in this district is proper under 28 U.S.C. §§ 1408 and 1409. This is a core proceeding as

defined in 28 U.S.C. § 157(b)(2).

             2.    The statutory and rule bases for the relief sought herein are sections 105(a) and

363(b) of the Bankruptcy Code and Bankruptcy Rule 9019.




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      The last four digits of the Debtor’s U.S. tax identification number are 9717. The Debtor’s mailing address is
      5035 Riverview Road, NW, Atlanta, GA 30327.


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                                            Background

        3.       On January 11, 2021 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code. The Debtor is managing its properties as

debtor in possession pursuant to Bankruptcy Code sections 1107(a) and 1108. No trustee or

examiner has been appointed in the Debtor’s chapter 11 case, and no committees have been

appointed or designated.

        4.       The Debtor is the sole owner of real property located in Woodley Park,

Washington, D.C. The property was formerly operated as the Washington Marriott Wardman

Park Hotel (the “Property”), a convention hotel. The hotel formerly operated on the Property has

been permanently closed by the Debtor. The factual background regarding the Debtor, including

its historical business operations and the events precipitating the chapter 11 filing, is set forth in

detail in the Declaration of James D. Decker in Support of Debtor’s Chapter 11 Petition and

First Day Motions (the “First Day Declaration”) filed on the Petition Date and fully incorporated

herein by reference.

                                     Hotel Services Contracts

        5.       Prior to the Petition Date, group sales agreements were entered into with certain

customers relating to the Property’s former status as a hotel and contemplated the provision of

certain future services, including hotel lodging at specified periods of times (the “Hotel Services

Contracts”). The Debtor believes that there are approximately 250 such Hotel Services Contracts

outstanding. The Hotel Services Contracts were entered into by the Debtor’s former manager,

Marriott. Notwithstanding that the Debtor was not a party to such contracts, the Debtor (as owner

of the Property on which a hotel was previously operated) believes it has an interest in the

bookings reflected by the Hotel Services Contracts which is protected by the automatic stay of



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Bankruptcy Code Section 362 and, accordingly brings this Motion to seek the relief requested

herein.

          6.     The Property is no longer being operated as a hotel. In light of the permanent

closure of the hotel formerly operated on the Property, since January, the Debtor has received

requests and will likely continue to receive requests from customers that are parties to Hotel

Services Contracts (the “Contract Parties”) to consent to the termination of their particular Hotel

Services Contracts.

          7.     The Debtor requested that those Contract Parties hold off on termination as

Debtor engaged in its sale process in an effort to preserve the potential value to the Debtor of the

Hotel Services Contracts. However, as the sale process continues, the Debtor submits that the

potential value of such Hotel Services Contracts is now outweighed by the cost and expense that

would be attendant to the extent that the Contract Parties seek to take action against the Debtor

with respect to the Hotel Services Contracts.

          8.     In connection with such requests to terminate the Hotel Services Contracts, the

Debtor proposes to consent to termination (the “Termination Stipulation”) with the Contract

Parties and provide releases to such parties in return for reciprocal releases of the Debtor. No

payments will be made by the Debtor pursuant to such Termination Stipulations. In connection

with the Termination Stipulation(s), the Debtor and the Contract Parties will agree to fully

discharge and release one another (and any successors or assigns) from any and all actions,

causes of action, liens, specialties, covenants, contracts, controversies, liabilities, suits, sums and

sums of money, accounts, presentments, and extents whatsoever (all such actions, causes of

action, specialties, and so forth) both at law and in equity, whether known or unknown, now




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existing or which may result from the existing state of things relating to the applicable Hotel

Services Contract except for any action relating to a breach of the Termination Stipulation.

         9.       To the extent Contract Parties previously contacted the Debtor concerning

termination of the Hotel Services Contracts, to the extent this Motion is granted, the Debtor will

notify such Contract Parties of the ability and willingness of the Debtor to consent to such

termination.

         10.      Entry into the Termination Stipulations will benefit the Debtor as it avoids any

claim for damages relating to the Hotel Services Contract2 and the cost of any litigation relating

to the Hotel Services Contract, including if the Contract Parties were to seek to compel rejection

or relief from the automatic stay as certain contract parties have done. In light of the similarity

of the numerous Hotel Services Contracts, the Debtor requests the ability to consent to

termination of the Hotel Contracts as requested without being required to seek approval of the

Bankruptcy Court for each such termination.

         11.      By this Motion, the Debtor seeks entry of an order permitting the Debtor to

consent to termination of the Hotel Services Contracts, as and when requested by the particular

Contract Parties, and approving Debtor’s entry into the Termination Stipulations with such

Contract Parties.

                                           Basis for Relief Requested

         12.      Section 105(a) of the Bankruptcy Code provides in relevant part that “[t]he court

may issue any order, process, or judgment that is necessary or appropriate to carry out the

provisions of this title.” 11 U.S.C. § 105(a). Section 105(a) has been interpreted to expressly

empower bankruptcy courts with broad equitable powers to “craft flexible remedies that, while


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  For the avoidance of doubt, Debtor asserts that it has no obligations or liability to any of the Contract Parties
relating to any of the Hotel Services Contracts.

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not expressly authorized by the Code, effect the result the Code was designed to obtain.”

Official Comm. of Unsecured Creditors of Cybergenics Corp. ex rel. Cybergenics Corp. v.

Chinery, 330 F.3d 548, 568 (3d Cir. 2003) (en banc).

         13.     Bankruptcy Rule 9019 governs the procedural prerequisites to approval of a

settlement, providing that:

                 On motion by the trustee and after notice and a hearing, the court
                 may approve a compromise or settlement. Notice shall be given to
                 creditors, the United States trustee, the debtor, and indenture
                 trustees as provided in Rule 2002 and to any other entity as the
                 court may direct.

Fed. R. Bankr. P. 9019(a).

         14.     Settlements in bankruptcy are favored as a means of minimizing litigation,

expediting the administration of the bankruptcy estate, and providing for the efficient resolution

of bankruptcy cases. Myers v. Martin (In re Martin), 91 F.3d 389, 393 (3d Cir. 1996).

Bankruptcy Rule 9019 provides that on motion by the trustee and after notice and a hearing, the

court may approve a compromise or settlement. In deciding whether to approve a settlement

pursuant to Bankruptcy Rule 9019, the court should determine whether the compromise is fair,

reasonable, and in the interests of the estates. In re Marvel Entertainment Group, Inc., 222 B.R.

243, 249 (D. Del. 1998). The decision whether to accept or reject a compromise lies within the

sound discretion of the court. In re Neshaminy Office Bldg. Assocs., 62 B.R. 798, 803 (E.D. Pa.

1986).

         15.     In making this determination, the United States Court of Appeals for the Third

Circuit has provided four criteria that a bankruptcy court should consider: (a) the probability of

success in litigation; (b) the likely difficulties in collection; (c) the complexity of the litigation

involved, and the expense, inconvenience and delay necessarily attending it; and (d) the

paramount interest of the creditors. Martin, 91 F.3d at 393. Courts generally defer to a trustee’s

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business judgment when there is a legitimate business justification for the trustee’s decision. Id.

at 395.

          16.    When applying the Martin factors to a particular motion, “the court is not

supposed to have a ‘mini-trial’ on the merits, but should canvass the issues to see whether the

settlement falls below the lowest point in the range of reasonableness.” Aetna Casualty & Surety

Co. v. Jasmine, Ltd (In re Jasmine, Ltd), 258 B.R. 119, 123 (D.N.J. 2000) (internal quotations

omitted); see also In re TSIC, Inc., 393 B.R. 71, 79 (Bankr. D. Del. 2008); In re World Health

Alternatives, Inc., 344 B.R. 291, 296 (Bankr. D. Del. 2006). Although approval of a compromise

is within the “sound discretion” of the bankruptcy court (World Health, 344 B.R. at 296), the

court should not substitute its judgment for that of a trustee or debtor in possession. In re

Parkview Hosp.-Osteopathic Med. Ctr., 211 B.R. 603, 610 (Bankr. N.D. Ohio 1996).

The ultimate inquiry is whether the compromise is “fair, reasonable, and in the interests of the

estate.” TSIC, 393 B.R. at 78. A court need not be convinced that a proposed settlement is the

best possible settlement, but “must conclude that it is within the reasonable range of litigation

possibilities.” World Health, 344 B.R. at 296 (internal citations omitted).

          17.    The Debtor believes that consenting to the termination of the Hotel Services

Contracts on the terms of the Termination Stipulations is fair and reasonable and is in the best

interests of the Debtor, its creditors, and the estate, and should be approved pursuant to

Bankruptcy Rule 9019.

          18.    Entry by the Debtor into the Termination Stipulations avoids the time and expense

that might be necessary to litigate issues relating to the Hotel Services Contract with the Contract

Parties. The Debtor is not aware of any claims or causes of action against the Contract Parties

that are to be released in connection with the termination of the Hotel Services Contracts and is



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not operating the Property as a hotel. Accordingly, the Debtor believes that providing the

releases in connection with the termination of the Hotel Services Contracts is fair and reasonable

in these circumstances. In exchange for releasing the Contract Parties, the Debtor will require a

full release from the Contract Parties for any claims that could be asserted to accrue under the

Hotel Services Contracts.

        19.      For those reasons, the Debtor believes in its business judgment that having the

ability to consent to termination of the Hotel Services Contracts on the terms described herein is

in the best interests of the Debtor’s estate. In light of the similarity of the Hotel Services

Contracts, Debtor further submits that it should not be required to seek separate approval of the

Bankruptcy Court for its consent to termination of each Hotel Services Contract as doing so

would be unduly burdensome and costly to the estate in light of the nature of the relief being

requested.

        20.      In addition, a settlement of claims and causes of action by a debtor in possession

constitutes a use of property of the estate. See Northview Motors, Inc. v. Chrysler Motors Corp.,

186 F.3d 346, 350-51 (3d Cir. 1999). If a settlement is outside of the ordinary course of business

of the debtor, it requires approval of the bankruptcy court pursuant to section 363(b) of the

Bankruptcy Code. See id.; see also Martin, 91 F.3d at 395 n.2 (“Section 363 of the Code is the

substantive provision requiring a hearing and court approval; Bankruptcy Rule 9019 sets forth

the procedure for approving an agreement to settle or compromise a controversy.”). Courts

normally defer to the debtor’s business judgment so long as there is a legitimate business

justification. See id.; see also Dai-Ichi Kangyo Bank, Ltd. v. Montgomery Ward Holding Corp.

(In re Montgomery Ward Holding Corp.), 242 B.R. 147, 153 (Bankr. D. Del. 1999) (trustee need




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only have a “sound business purpose” to justify use of estate property pursuant to section

363(b)).

        21.      Here, to the extent that approval under section 363(b) of the Bankruptcy Court is

required, the Termination Stipulations will provide for full releases of any claims relating to the

Hotel Services Agreement. The relief granted herein is similar to other situations such as de

minimis asset sales or claims procedures where debtors are able to address routine matters

without the expense and burden of motion practice for each similar matter. Processes such as the

one proposed here provide a demonstrable savings and benefit to the estate and courts in this

district and other districts routinely provide debtors with similar authority, such as the authority

to resolve de minimis claims or engage in de minimis assets sales, to take action in accordance

with a process without the necessity of further motion practice. See, e.g., In re Forever 21, Inc.,

No. 19-12122 (MFW) (Bankr. D. Del. Mar. 20, 2020) (approving de minimis claims procedures

for settlement of claims of up to $3 million); In re Southcross Energy Partners, L.P., No. 19-

10702 (MFW) (Bankr. D. Del. May 6, 2019) (authorizing de minimis asset sales up to $2

million); Sears Holdings Corp., No. 18-23538 (RDD) (Bankr. S.D.N.Y. Nov. 21, 2018)

(approving de minimis asset sales procedures for assets up to $15 million).

        22.      For all the reasons set forth above, the Debtor, in an exercise of its sound business

judgment, submits that the ability to consent to termination of the Hotel Services Contracts is

fair, reasonable, and appropriate and should be approved by this Court.

                                                Notice

        23.      Notice of this Motion has been given to the following parties, or their counsel, if

known: (a) the Office of the United States Trustee; (b) counsel to the Debtor’s prepetition and

postpetition secured lender; (c) the Debtor’s largest unsecured creditors; (d) the Contract Parties;



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and (e) any party that has requested notice pursuant to Bankruptcy Rule 2002. The Debtor

submits that, in light of the nature of the relief requested, no other or further notice need be

given.

                                           No Prior Request

         24.     No prior request for the relief sought in this Motion has been made to this or any

other court, except as set forth herein.

                 WHEREFORE, the Debtor requests entry of an order, substantially in the form

attached hereto, permitting the Debtor to consent to termination of the Hotel Services Contracts

and for such other and further relief as this Court deems appropriate.



 Dated: May 28, 2021                              PACHULSKI STANG ZIEHL & JONES LLP


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